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                                Matthew I. Knepper, Esq.
                        1       Nevada Bar No. 12796
                        2       Miles N. Clark, Esq.
                                Nevada Bar No. 13848
                        3       KNEPPER & CLARK LLC
                                5510 So. Fort Apache Rd, Suite 30
                        4       Las Vegas, NV 89148
                                Phone: (702) 856-7430
                        5
                                Fax: (702) 447-8048
                        6       Email: matthew.knepper@knepperclark.com
                                Email: miles.clark@knepperclark.com
                        7
                                Counsel for Plaintiff
                        8
                                                                 UNITED STATES DISTRICT COURT
                        9
                                                                     DISTRICT OF NEVADA
                      10

                      11
                                 DAVID LEONI,                                      Case No. 2:17-cv-01408-RFB-VCF
                      12
                                                    Plaintiff,                     ORDER TO WITHDRAW DEFENDANT
                      13                                                           EXPERIAN INFORMATION SOLUTIONS,
                                        v.                                         INC.’S BILL OF COSTS
                      14
                                 EXPERIAN INFORMATION SOLUTIONS,                   Complaint filed: May 18, 2017,
                      15         INC.,                                             First Amended Complaint filed: September 28,
                                                                                   2017
                      16                            Defendant.
                      17
                                        PLEASE TAKE NOTICE that pursuant to the Court’s Order (ECF No. 142), the Parties
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                      19         have stipulated to Experian Information Solutions, Inc.’s withdraw of its Bill of Costs filed on July

                      20         23, 2021 (ECF No. 138).

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   KNEPPER & CLARK LLC
     ATTORNEYS AT LAW
5510 S Fort Apache Rd, Ste 30
    Las Vegas, NV 89148
       (702) 856-7430
                                Case 2:17-cv-01408-RFB-VCF Document 147
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                                       IT IS SO STIPULATED.
                         1
                                       Dated November 10, 2021
                         2
                                 KNEPPER & CLARK LLC                            NAYLOR & BRASTER
                         3
                                 /s/ Miles N. Clark                             /s/ Jennifer L. Braster
                         4       Matthew I. Knepper, Esq., SBN 12796            Jennifer L. Braster, Esq., SBN 9982
                                 Miles N. Clark, Esq., SBN 13848                1050 Indigo Drive, Suite 200
                         5       5510 So. Fort Apache Rd, Suite 30              Las Vegas, NV 89145
                         6       Las Vegas, NV 89148                            Email: jbraster@nblawnv.com
                                 Email: matthew.knepper@knepperclark.com
                         7       Email: miles.clark@knepperclark.com            JONES DAY
                                                                                Cheryl L. O’Connor, Esq., SBN 14745
                         8       Counsel for Plaintiff                          3161 Michelson Drive
                                 David Leoni                                    Irvine, CA 92612
                         9                                                      Email: coconnor@jonesday.com

                      10                                                        Counsel for Defendant
                                                                                Experian Information Solutions, Inc.
                      11

                      12
                                                                 ORDER GRANTING
                      13
                                     STIPULATION TO WITHDRAW DEFENDANT EXPERIAN INFORMATION
                      14
                                                         SOLUTIONS, INC.’S BILL OF COSTS
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                                 IT IS SO ORDERED
                      16

                      17                                               _________________________________________
                                                                       UNITED STATES MAGISTRATE JUDGE
                      18
                                                                       DATED this 12 day of November, 2021.
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                      27                                                   Leoni v. Experian Information Solutions, Inc. et al
                                                                                           Case #: 2:17-cv-01408-RFB-VCF
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                                                                       2 of 2
   KNEPPER & CLARK LLC
     ATTORNEYS AT LAW
5510 S Fort Apache Rd, Ste 30
    Las Vegas, NV 89148
       (702) 856-7430
